Case 2:18-cv-00585-RFB-NJK Document 609-6 Filed 10/13/22 Page 1 of 4




     EXHIBIT F
          Statement of Work Number 8




     EXHIBIT F
                                                                       025
Case 2:18-cv-00585-RFB-NJK Document 609-6 Filed 10/13/22 Page 2 of 4



                                                                          300 South 4th Street, Suite 600
                                                                          Las Vegas, NV 89101-6017
                                                                          O 702.759.4000 F 702.759.4063
                                                                          www.mcgladrey.com




                                  Aruze Gaming America, Inc.
                                  Statement of Work Number 8
                                      Global Restructuring

This document is statement of work (“SOW”) number 8 under the master services agreement
dated June 25, 2013 between Aruze Gaming America, Inc. (“Aruze,” “AGA,” or the “Company”)
and McGladrey LLP (the “MSA”). Once signed on behalf of each party below, this SOW will be
deemed a part of the MSA and will be subject to all the terms of the MSA.

Background

On May 1, 2012, AGA transferred the operations of its Japan research and development branch
(the “Japan Branch”) to Aruze Software, K.K., a Japanese corporation also owned by Mr.
Okada. For U.S. tax purposes, this transfer generated taxable income to the extent of prior year
net operating losses (“NOLs”) attributable to the Japan Branch (“Branch Loss Recapture”). On
Aruze’s 2012 U.S. corporate income tax return, Branch Loss Recapture income totaled $18.8
million. Branch Recapture is limited to the amount that would have been recognized on a
taxable sale if the assets were sold individually and without offsetting individual gains against
individual losses (the “Branch Recapture Limitation”).

Project Description

The scope of our work will be to assist Aruze in determining the Branch Recapture Limitation by
performing a tax only valuation of the Japan Branch and amending affected U.S. federal and
state income returns.

None of the work conducted under this engagement is intended to be used, or shall be used, in
solely its output form, to ensure compliance with any State’s or the United States Treasury
Regulations governing tax practice and/or for purposes of avoiding any tax-related penalties that
may be imposed under State or Federal tax laws or those of any other foreign tax jurisdictions.

Deliverables

We will deliver the following items:

      A valuation report showing the expected market of value of the Japan Branch at May 1,
       2012;
      A schedule reconciling the Japan Branch’s losses as affected by prior years’
       examination by Japan’s National Tax Agency and the same losses claimed on the U.S.
       state and federal income tax returns;
      A memorandum discussing the application of the Branch Recapture Limitation to the
       Branch Loss Recapture; and
      Amended U.S. federal and state income tax returns, as appropriate.




                                                                                             026
                                                                                     AGA00313015
       Case 2:18-cv-00585-RFB-NJK Document 609-6 Filed 10/13/22 Page 3 of 4



Mr.Shingo Shinozaki
Aruze Gaming America, Inc.
Statement of Work Number 8
February 1, 2014
Page 2


Fees

Based on our experience and the information received to date, we anticipate that the fees for
the work referred to above will be $70,000. Our fees are based on the time required for work
performed, the complexity of any technical issues addressed, and the impact of any deadlines
imposed by you or third parties. In addition, we will bill for any direct expenses (e.g., postage
shipping, travel, etc.). We will submit our bill for services rendered on a monthly basis.
Our engagement with the Company is limited to the tax consultation services described herein.
It is possible that technical complications and unforeseen costs may arise as we drill down on
the facts and technical details. We will use our best reasonable efforts to manage such events
as they arise within our agreed fee arrangement; however, it may be necessary to address
some events outside the scope of this arrangement. We will alert you to such events as soon as
reasonably possible after we become aware of them, present you with your reasonable
alternatives, and seek your approval for any fee adjustments before performing any out-of-
scope work.

Period of Performance

To be determined.

Limitation on Liability

We cannot guarantee that the methodology utilized, or any documentation that we provide, will
result in an acceptable position to the Internal Revenue Service or the taxing authorities of any
other country. Therefore, you agree that any additional taxes, penalties, and interest that may
be proposed by any taxing authority are the sole responsibility of Aruze and its affiliates and are
not the responsibility of McGladrey.

Oral Advice
It is our policy to confirm to you in writing all tax advice upon which you may justifiably rely. Oral
advice that is not confirmed in writing should be considered our preliminary reaction. You
should not proceed in reliance on oral advice until receiving such written confirmation.




                                                                                              027
                                                                                      AGA00313016
Case 2:18-cv-00585-RFB-NJK Document 609-6 Filed 10/13/22 Page 4 of 4




                                                                   028
                                                           AGA00313017
